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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                        01/02/2025
---------------------------------------------------------------X
ALI MOORE,                                                     :   22-CV-10957 (LGS) (RWL)
                                            Plaintiff,        :
                                                              :
                 - against -                                   :         ORDER
                                                               :
CITY OF NEW YORK, et al,                                       :
                                                               :
                                             Defendants. :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        On November 6, 2024, the Court ordered that if Plaintiff sought to include as

named defendants any individuals identified by the currently named Defendants in

response to the Court’s Valentin orders (see Dkts. 190, 207, and 224), he was required

to file by November 27, 2024, a Fifth Amended Complaint that includes those individuals

by name in the caption and any relevant allegations as to their involvement. (See

Dkt. 232.) On December 3, 2024, the clerk of court docketed a letter dated November

27, 2024, requesting an extension to file, which the Court granted, extending the deadline

to December 23, 2024. (See Dkt. 248.) The Court’s order specifically referenced other

obligations of Plaintiff concerning case management deadlines, but Plaintiff’s letter

specifically referenced the November 27, 2024 deadline, and so the Court deems the

extension to have included the time to file a Fifth Amended Complaint.

        On December 20, 2024, Plaintiff filed a letter requesting an extension of the

December 23, 2024 deadline but did not specify any length for the extension. (Dkt. 251.)

On December 24, 2024, Plaintiff filed follow-up requests for the same extension.

(Dkts. 252-253.) Plaintiff claims to have been diligently working on the Fifth Amended

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Complaint while encountering technical and other problems. Plaintiff’s letter to the Court

filed at Dkt. 252 states that “You will see [the] completed complaint tonight, just need you

to accept this.” The docket reflects a proposed amended pleading at Dkt. 254, docketed

on December 27, 2024.

       The Court deems Plaintiff’s amended pleading at Dkt. 254 to be a timely filed

proposed Fifth Amended Complaint (“Proposed 5AC”). However, the Proposed 5AC is

not a proper pleading and cannot be accepted, even though it does include some of the

additionally named defendants identified in response to the Court’s Valentin orders. First,

the Proposed 5AC is 259 pages long, whereas the Fourth Amended Complaint was 72

pages long. Many of the assertions in the Proposed 5AC are unintelligible; the document

contains numerous rambling narratives; and there appears to be considerable repetition.

The Proposed 5AC is far from a “short and plain statement” as required by Federal Rule

of Civil Procedure 8.

       Second, the purpose for which leave was granted to file a sixth pleading was to

add as named defendants certain persons identified by existing Defendants pursuant to

the Court’s Valentin orders and to include factual allegations specifically directed to them.

Rather than adhering to that directive, the 5AC devotes most of its additional material to

additional persons and entities not identified in response to the Court’s Valentin orders,

and to corresponding allegations that are plainly frivolous. In particular, those individuals

and entities include President Joe Biden, Vice-President Kamala Harris, President Barack

Obama, First Lady Jill Biden, Columbia University, the Central Intelligence Agency and

its Director William J. Burns, former U.S. for the Southern District of New York Attorney

Audrey Strauss, and former Acting U.S. Attorney for the Eastern District of New York



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Jacquelyn M. Kasulis. Even though not named in the caption, the Proposed 5AC also

purports to sue the “U.S. Armed Forces,” and a “Federal strike force.”

        Third, the proposed pleading includes numerous passages about subject matter

and claims that are not relevant to the claims the Court has not already dismissed. The

Court did not grant Plaintiff leave to include any such material or additional claims. In

short, the proposed 5AC is vexatious and does not comply with the Court’s orders, even

accounting for a liberal construction to which a pro se plaintiff is entitled.

       Accordingly, the Proposed 5AC will not be accepted. The operative pleading

remains the Fourth Amended Complaint at Dkt. 86. See Jeong-Suk No v. Representative

of USA United States, No. 23-CV-8188, 2023 WL 6519517, at *2 (S.D.N.Y. Oct. 5, 2023)

(dismissing claims, despite special solicitude afforded pro se pleadings, that “rise to the

level of the irrational or the wholly incredible”); Swint v. Wireless, No. 23-CV-4067, 2023

WL 4847318, at *2 (S.D.N.Y. July 27, 2023) (rejecting pro se plaintiff's claims as frivolous

and stating that a “finding of factual frivolousness is warranted when the facts alleged are

clearly baseless, fanciful, fantastic, delusional or wholly incredible”) (internal quotation

marks omitted); Raoul v. City of New York Police Department, No. 14-CV-1787, 2015 WL

1014204, at *2 (E.D.N.Y. Mar. 6, 2015) (dismissing claims that were “based purely on

wide-ranging, incoherent allegations of a massive conspiracy by numerous federal, state,

and local government entities to persecute [the plaintiff]”).

       However, the Court will provide Plaintiff with a final opportunity to amend limited to

the following: Plaintiff may file a proposed Fifth Amended Complaint that names the

following individuals as defendants, so long as the amendment also includes factual

allegations specific to those additional individuals’ involvement in the events at issue:

Officer Gabriela Flores Tapia; Officer Christopher Torturo; Officer David Franklin;
                                               3
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Seargent Joseph Angelone; P.O. Georadia Germonsen; P.O. Francis Senajour; FDNY

EMT Robert Kraft; NYPD Lieutenant Salvatore Ronzino; FDNY Lieutenant Alexander

Gomez; Seargent Joel Rivera; Captain David Lopez; Officer Terrence Pemberton; Chang

Young Cho (NP); Eguagie Ehimwenma (RN); Crystal Channel Allman (RN); Emilia C.

Okoroma (RN); and Kemp Thane Herzberg (RN). No other additional defendants shall

be included. Failure to limit the proposed amendment as directed may result in denial of

the proposed amendment for that reason alone.

       The revised proposed Fifth Amended Complaint shall be filed by January 27,

2025. There will be no extensions absent good cause.

                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: January 2, 2025
       New York, New York

Copies transmitted this date to all counsel of record.




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